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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

STEAMFITTERS UNION, LOCAL 420     :              CIVIL ACTION
WELFARE FUND, STEAMFITTERS        :
UNION, LOCAL 320 PENSION FUND,    :
STEAMFITTERS UNION, LOCAL 420     :
SUPPLEMENTAL RETIREMENT PLAN, :
STEAMFITTERS UNION, LOCAL 420     :
APPRENTICESHIP TRAINING FUND,     :
SCHOLARSHIP FUND OF               :
STEAMFITTERS LOCAL UNION NO. 420, :
LOCAL UNION NBO. 420 PIPING       :
INDUSTRY POLITICAL AND EDUCATION :
FUND, MECHANICAL CONTRACTORS :
ASSOCIATION OF EASTERN            :
PENNSYLVANIA, INC. INDUSTRY       :
FUND and LOCAL UNION NO. 420 OF   :
THE UNITED ASSOCIATION OF THE     :
PLUMBING AND PIPEFITTING          :
INDUSTRY OF THE UNITED STATES     :
AND CANADA                        :
                                  :
     v.                           :
                                  :
DIRECT AIR, LLC, SALVATORE        :
TAORMINA and SAL CAMPAGNA         :              NO. 18-1611

                                       ORDER

      NOW, this 19th day of October, 2020, upon consideration of the Plaintiffs’ Motion

for Order Charging Membership Interests of Judgment Debtors and for Other Ancillary

Relief in Aid of Enforcement of Consent Judgment (Document No. 9) and the defendants

having failed to file a response, it is ORDERED that the motion is GRANTED in part and

DENIED in part.

      IT IS FURTHER ORDERED:

      1.      To the extent the motion seeks a charging order against the defendants

Salvatore Taormina and Sal Campagna’s membership interests in SCST Realty Group,
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LLC, it is DENIED.

       2.      To the extent the motion seeks an order enjoining Taormina and Campagna

from transferring, assigning, conveying or otherwise disposing of their property in

Pennsylvania until the Consent Judgment has been satisfied, it is GRANTED.

       3.      Defendants shall not sell, transfer, assign, convey, encumber or otherwise

affect their interests in any entity including corporations, partnerships, limited liability

companies and limited partnerships.



                                                 /s/ Timothy J. Savage
                                                 TIMOTHY J. SAVAGE, J.
